









DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-05-00380-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

TWELFTH COURT OF APPEALS
DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

&nbsp;

ROCKY
DEAN HUDSON,&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COUNTY
COURT AT LAW NO. 3 OF

&nbsp;

THE
STATE OF TEXAS,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH
COUNTY, TEXAS

&nbsp;




 
  
  
 
 
  
  
 
 
  
 
 
  
  
 


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&nbsp;



MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant has filed a motion to dismiss this appeal.&nbsp; The motion is signed by Appellant and his
counsel.&nbsp; No decision having been
delivered by this Court, the motion is granted, and the appeal is dismissed in
accordance with Texas Rule of Appellate Procedure 42.2.

Opinion
delivered May 3, 2006.

Panel
consisted of Worthen, C.J., Griffith, J., and DeVasto, J.

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

(DO NOT PUBLISH)





